8:04-cr-00164-RGK-CRZ   Doc # 356   Filed: 03/18/10   Page 1 of 1 - Page ID # 1297




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )             8:04cr164
                 Plaintiff,               )
                                          )
      vs.                                 )            ORDER
                                          )
PEDRO MORALES,                            )
                                          )
                 Defendant.               )



      The court has been presented a Financial Affidavit (CJA Form
23) signed by the above-named defendant in support of a request for
appointed counsel. After a review of the Financial Affidavit, I
find that the above-named defendant is eligible for appointment of
counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and
the Amended Criminal Justice Act Plan for the District of Nebraska.

      IT THEREFORE HEREBY IS ORDERED that Denise Frost            is appointed
as attorney of record for the above-named defendant.

      IT IS FURTHER ORDERED that the Federal Public Defender's
Office shall forthwith provide counsel with a draft appointment
order (CJA Form 20) bearing the name and other identifying
information of the CJA Panel attorney identified in accordance
with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of
this order to the Federal Public Defender and the defendant’s
attorney.

      DATED: March 18, 2010

                                    BY THE COURT

                                    s/Cheryl R. Zwart
                                    Cheryl R. Zwart
                                    United States Magistrate Judge
